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                 NO.     CivilA ction N o.3:17-cv-00072-N KM   -
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PETITION ER :                             IN TH E DISTRICT COU RT

 ELIZABETH SIN ES,etal                    UN ITED STATES DISTRICT COURT
                                          FOR THE W ESTERN DISTRICT OF
                                            W RGINIA

 DEFENDAN T:                              Charlottesville
                                            Division


 CH RISTOPH ER CAN TW ELL




                      M otion For Extension
           To ObjecttoPlaintiffs'M otion forEvidentiary Sanctions


PursuanttoRule6(b)oftheFederalRulesofCivilProcedure,Defendant
Cantw ellrespectfully m oves this Courtfor an enlargem ent oftim e,up to and
including January 13th,2020,in wllich to respond to Plaintiffs'm otion for
evidentiary sanctions againstDefendant Kline.

W erethism otion granted,itwould irreparably and unjustifiably harm Cantwell,
since the inferences Plaintiffs requestbe m ade ofK line's contem pt,would
necessarily resecta sim ilar lightupon D efendant Cantwell,w ho hasnot defied
this Court.
DefendantCantw ellhas,very recently,been lef'twithoutthe services ofan
attorney,atthislate stage ofthese pkoceedings.This state ofaffairsw ascaused
by Plaintiffs'm eritlessmotion to enjoin DefendantCantwell,aswellas
relentlessthreats,harassm ent,and slander by Plaintiffs'associates,financiers,
and counsel,which have had theirintended im pactofsabotaging Cantw ell's
business dealings,and leaving him in greatSnancialperil.
W ithoutthose services,ortraining as an attorney,getting and staying up to
speed with allthatis going on here hasproved a substantialcognitive burden.
The sheervolum e ofdistortionsinvolved in Plaintiffs'variousSlings,com bined
w ith the fortunate factthatthere is am ple evidence to disprove them ,hasserved
to m ake a cruelm aster ofthe clock and the calendar.

Brieflk,Plaintiffs'have moved thecourttoinferfrom Kline'scontempt,thathe
hides or has destroyed evidence,w hich provesthe conspiracy theory up6n w hich
their com plaint rests.This m otion should notbe r anted,because allevidence
aside from Kline's contem pt,contradicts this inference.
To clarify,D efendantCantwellsupports,quite literally any and allm eans
available to this Court,which m ightcoerce Kline into com pliance w ith his
obligations.Theobjection beingraised isollly againstPlaintiffs'attemptto
obtain through Kline's non-com pliance,thatw hich they cannotobtain through
exposure ofthe truth.
D efendantCqntwell'has been busy com piling a docum entw hich currently stands
at 382 pages,and includes 139 exhibits totaling 10.7GB ofdata.Anyone who
review s the m aterialcontained therein,w illvery clearly understand why
Plaintiffs are having so m uch trouble finding any evidence oftheir claim s.That
docum ent,incom plete though itis,hasbeen included w ith this on a U SB thum b
drive,along w ith allthe exhibits.Itishere provided only as proofofthe w ork in
progress,and should notbe view ed as anything else,unless thism otion is
denied,in which case Cantw ellrequestsitbe considered in opposition to
Plaintiffs'm otion for evidentiary sanctions.

Specifically,Plaintils'claim s are notonly false,they are precisely the inverse of
the truth.K line's contem ptisthe closestthing they have to a straw atw llich to
g'
 rasp,because itis the Plaintiffs and their associates,notthe Defendants,who
conspired to com m ita crim e in Augustof2017.Plaintiffs'counselhave,atbest,
shielded their eyes from the truth in this,as they have attheir disposalplenty of
evidence to disprove their own cli m s.Sanctions againstthem are certainly in
order,and thatw as the originalpurpose ofthe docum ent Cantw ellhas been
com piling,before the m otion for evidentiary sanctions w as sled.

K line's contem ptism ore easily explained by factors other than those the
Plaintiffs assert.Peoplew ho are exposed asbeing involved in Defendants'
politicaland socialcircles,face threatsofviolence,m eritless legalharassm ent,
careerderailm ent,and countless other serious consequences,for perfectly legal
activity.

Plaintiffsknow their discovery dem ands cannotdiscoverthatw hich they are
certain is never occurred,and these dem ands are m ade in the hopesofexposing
justsuch individuals.Thislawsuitwasfiledimproperly,to harassand terrify




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people forpoliticalreasons,and allofthe D efendants are keenly aw are ofthis
fact.Kline m ostlikely seeksto protectidentitiesofpersonsnotyetexposed,and
w hile this doesnot excuse his contem pt,itexplainshisnon-com pliance far m ore
convincingly than the assertion ofthe Plaintiffs.




Christopher Cantwell2019-12-27
